B2100A (Form 2100A) (12/15)     Case 12-11567          Doc 34       Filed 12/29/17         Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                        Middle District of North Carolina (Greensboro)
IN RE:                                                                Case No.: 12-11567
Debtors: Keith R. Newman and Lisa O. Newman                           Loan Number (Last 4):        4386


                                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
Madison Revolving Trust 2017                                      HSBC Mortgage Services, Inc.
Serviced by Select Portfolio Servicing, Inc.
Name of Transferee                                                Name of Transferor

3217 S. Decker Lake Dr.                                           Court Claim # (if known): 5
Salt Lake City, UT 84115                                          Amount of Claim:          $202,573.24
                                                                  Date Claim Filed:         12/28/2012

Phone: 866-247-1722                                               Last Four Digits of Acct #: 8500
Last Four Digits of Acct #: 4386

Name and Address where transferee payments should be sent (if different from above):
PO Box 65450
Salt Lake City, UT 84165


Phone:   866-247-1722
Last Four Digits of Acct #:     4386



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ Gina Hiatt                                                                   Date:   12/29/2017
         BK Management
          (Approved by: Kiana Tebbs)


Specific Contact Information:
P: 800-258-8602




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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